                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                                     Nos. 3:06-CR-74-3-BR


UNITED STATES OF AMERICA,                            )
                                                     )
              v.                                     )               ORDER
                                                     )
                                                     )
SAMUEL THOMAS CURRIN                                 )
                                                     )


       This matter is before the court on the government’s motion to seal its motion pursuant to Fed.

R. Crim. P. 35(b)(1). Because the Rule 35 motion contains information relating to the ongoing

investigation of co-conspirators who have not yet been indicted, the motion to seal is ALLOWED.

       This 8 September 2008.




                                              __________________________________
                                                    W. Earl Britt
                                                    Senior U.S. District Judge




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